Case 1:20-cv-22427-MGC Document 23 Entered on FLSD Docket 06/02/2021 Page 1 of 4




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      CASE NO. 1:20-cv-22427-MGC

  UNITED STATES OF AMERICA,

                         Plaintiff,

         v.

  REAL PROPERTY LOCATED AT 900
  BISCAYNE BLVD UNIT #6107, MIAMI,
  FLORIDA 33132

                    Defendant In Rem.
  ____________________________________/


                                       JOINT STATUS REPORT

         Claimant Nathalie Bumba-Pembe (“Claimant”) and Plaintiff United States of America
  (“Plaintiff”) (collectively, the “Parties”) hereby file this Joint Status Report and, together, move
  the Court for a stay of 30 additional days from the date of this report – or until July 1, 2021 – of
  all deadlines in this case while the Parties continue to negotiate an agreement in principle to resolve
  this matter. In support of this request, the Parties state as follows:
         1.      On April 30, 2021, the Parties filed a Joint Status Report requesting an additional
  stay in order to facilitate continued negotiations towards an agreement in principle to resolve this
  matter. The Parties requested a stay of all deadlines until June 1, 2021.
         2.      On May 3, 2021, this Court entered an order granting the requested additional stay
  in this matter until June 1, 2021 and directed that the Parties file a joint status report advising the
  Court regarding the foreseeability of settlement.
         3.      The Parties have been diligently engaged in good faith negotiations and have
  continued to progress towards a settlement. However, the Parties note that additional time is
  necessary in order to reach an agreement.
         4.      Therefore, the Parties respectfully submit that, in the interest of justice, the
  preservation of judicial and financial economy, and to allow time for the undertaking of negotiating



                                                      1
Case 1:20-cv-22427-MGC Document 23 Entered on FLSD Docket 06/02/2021 Page 2 of 4




  to resolve this matter, a stay of all deadlines until 11:59 p.m. on Thursday, July 1, 2021 is
  warranted.
         5.      The Parties further respectfully submit that if, at the end of the requested stay
  period, they have been unable to reach an agreement in principle to resolve this matter, then the
  Parties will promptly inform the Court and file a Joint Scheduling Report and Joint Proposed
  Scheduling Order no later than July 15, 2021.
         6.      This request of the Court is made in good faith and not for purposes of delay, and
  the granting of the relief requested herein is supported by good cause and will not prejudice the
  Court or any of the parties to this action.
         WHEREFORE, the Parties respectfully request that the Court issue an order staying all
  deadlines in this matter until 11:59 p.m. on Tuesday, July 1, 2021.


               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(3)
         I hereby certify that, in accordance with Local Rule 7.1(a)(3), the undersigned have
  conferred with all counsel regarding the issues raised herein, and all counsel join in this motion.


  Date: June 2, 2021                                   Respectfully submitted,


   /s/ Evelyn Baltodano-Sheehan_____                   /s/ Shai Bronshtein             ____
   Evelyn Baltodano-Sheehan                            Shai Bronshtein, Trial Attorney
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Case 1:20-cv-22427-MGC Document 23 Entered on FLSD Docket 06/02/2021 Page 3 of 4




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                                            3
Case 1:20-cv-22427-MGC Document 23 Entered on FLSD Docket 06/02/2021 Page 4 of 4




                                   CERTIFICATE OF SERVICE

         I hereby certify that, on June 2, 2021, I electronically filed the foregoing document with
  the Clerk of the Court using the CM/ECF system. I further certify that the foregoing document is
  being served on all counsel of record via transmission of Notices of Electronic Filing generated by
  CM/ECF.



                                                                /s/ Evelyn Baltodano-Sheehan
                                                                    Evelyn Baltodano-Sheehan

                                           SERVICE LIST

  Electronic Mail Notice List
  The following is the list of parties who are currently on the list to receive email notice/service for
  this case.

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                                                    4
